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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  GALVESTON DIVISION

 QUNESHIA RAWLS,
 Individually and on behalf of all others similarly
 situated,
                                                       Case No. 3:21-cv-00303
                    Plaintiff,
                                                      JURY TRIAL DEMANDED
           v.
                                                      COLLECTIVE ACTION
 CONVERGENT OUTSOURCING, INC.,                        PURSUANT TO 29 U.S.C. § 216(B)
                     Defendant.


        PLAINTIFF’S UNOPPOSED MOTION TO DISMISS WITH PREJUDICE
             AND FOR APPROVAL OF SETTLEMENT AGREEMENT

       Plaintiff Quneshia Rawls, individually and behalf of all others similarly situated (collectively,

“Plaintiff” or “Plaintiff and the Collective Members”), files this Motion (“Motion”) to Dismiss with

Prejudice and for Approval of Settlement Agreement (“Settlement Agreement” or “Agreement”).1

Defendant Convergent Outsourcing, Inc. (“Convergent” or “Defendant”) does not oppose the relief

requested in this Motion.

       Accordingly, for the reasons set forth below, Plaintiff requests that the Court enter the

Proposed Order and dismiss this case with prejudice. The Settlement Agreement executed by the

Parties calls for and conditions the settlement of this matter on this agreed upon order and judgment.




       1  The Stipulation Regarding Settlement of Collective Action (“Settlement Agreement”) contains
confidential information and is attached to the Motion for Leave to File Under Seal, as Exhibit A.
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                                      I.
                 RELEVANT PROCEDURAL AND FACTUAL BACKGROUND

         Quneshia Rawls filed this case on October 26, 2021, alleging that Convergent violated the Fair

Labor Standards Act, 29 U.S.C. § 201, et seq. (“FLSA”) by failing to pay her and all other similarly

situated employees the correct amount of overtime for all hours worked in excess of 40 hours per

week. (ECF No. 1 (the “Litigation”).) Convergent filed its Original Answer and denied any and all

liability to Plaintiff and the Putative Collective Members and asserted that its hourly, non-exempt call-

center employees were fully compensated under federal and state law. See ECF No. 9. To the extent

Plaintiff or the Putative Collective Members were not paid for all hours worked, which Convergent

does not concede, Convergent maintains that these underpayments (a) were de minimis or otherwise

not compensable, (b) did not occur every week, (c) did not occur in weeks where Plaintiff and the

Putative Collective Members worked 40 hours or more, and (d) did not affect Plaintiff and Putative

Collective Members on a class-wide basis. See id.

         The Parties have reached an agreement in principle, subject to the Court approving the

settlement. This Settlement Agreement, if approved by the Court, will result in the resolution of the

Litigation in its entirety, and such resolution shall be with prejudice for all Settlement Collective

Members (as defined in the Settlement Agreement), and the waiver and release of all Released Claims

(as defined in the Settlement Agreement, including without limitation any state law claims alleged

initially or that could have been alleged in the Litigation or otherwise) shall apply to all Settlement

Collective Members as defined in the Settlement Agreement.2



         2Settlement Collective Members will release all Released Claims, which include any and all claims under
the Fair Labor Standards Act (“FLSA”), any claims under the theory of quantum meruit, and any other state,
federal, or local law or theory related to the payment of wages or any other employment benefits that accrued
on or before the Approval Date against any or all of the Convergent Releasees. Released Claims includes
known and unknown claims, demands, rights, liabilities, and causes of action of every nature and description
whatsoever, in law or in equity, whether or not concealed or hidden, asserted or which could have been asserted,
including without limitation statutory, constitutional, contractual or common law claims, whether arising under
federal or state or other law, against the Convergent Releasees, or any of them, accruing at any point through

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                                        II.
                    THIS COURT SHOULD APPROVE THE SETTLEMENT

         This matter is brought pursuant to the FLSA. The Parties have thoroughly investigated

Plaintiff’s allegations and Defendant’s defenses. The Parties are represented by counsel with significant

experience in wage and hour litigation. The Parties have resolved this matter and contend the

Agreement before this Court is a fair and reasonable resolution of the pending claims. The Parties’

agreement is contained in the Settlement Agreement, which was fully executed by the Parties on

December 9, 2021. The Settlement Agreement involves payments to the Plaintiff and the Collective

Members, a payment to Plaintiff’s Counsel for attorneys’ fees and costs, and the costs of administering

the settlement. As part of the Settlement Agreement, Plaintiff and the Collective Members who choose

to participate in the settlement will release any and all federal and state law claims they may have for

failure to pay wages (including overtime or premium wages pursuant to the FLSA) against the

Convergent Releasees (as defined in the Settlement Agreement) relating to events occurring prior to

the date of a final judgment in this matter.

A.       Relevant Legal Standards

         The FLSA does not expressly authorize or expressly require district courts to review settlement

agreements reached by litigants in pending FLSA cases. Stuntz v. Lion Elastomers, L.L.C., 826 F. App’x

391, 397 (5th Cir. 2020) (recognizing that private settlement agreements that resolve “a bona fide dispute

as to the amount of hours worked or compensation due” are enforceable) (citing Martin v. Spring Break

’83 Prods., L.L.C., 688 F.3d 247, 255 (5th Cir. 2012)). Indeed, the Fifth Circuit has repeatedly clarified

that neither court nor Department of Labor (“DOL”) approval is required in a case pending before

the court where the private compromise of FLSA claims involves “a bona fide dispute as to the


the Approval Date and arising out of the Collective Member’s employment by any Convergent Releasee, for
failure to pay wages, and any and all associated remedies such as liquidated damages, statutory penalties, civil
penalties, interest, fees, costs or any other remedies.



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number of hours worked or compensation due.” Stuntz, 2020 WL 5666543, at *5; see also Martin, 688

F.3d at 255. However, out of an abundance of caution, the Parties hereby submit the Settlement

Agreement for approval by this Court.

         “When a court scrutinizes an FLSA settlement agreement, it must ‘determine whether (1) the

settlement involves the resolution of a bona fide dispute over an FLSA provision and (2) the settlement

is fair and reasonable.’” Tharp v. Energes LLC, No. 5:15-CV-983-DAE, 2018 WL 7286479, at *2 (W.D.

Tex. July 16, 2018) (quoting Altier v. Worley Catastrophe Response, LLC, No. 11-241, 11-242, 2012 WL

161824, at *13 (E.D. La. Jan 18, 2012) (citations omitted)). If the settlement meets the above criteria

the court may approve the settlement agreement and enter final judgment. Id. (citing Collins v. Sanderson

Farms, Inc., 568 F. Supp. 2d 714, 719 (E.D. La. 2008) (“In order to approve a settlement proposed by

an employer and employees of a suit brought under the FLSA and enter a stipulated judgment, a court

must determine that the settlement is a ‘fair and reasonable resolution of a bona fide dispute over

FLSA provisions.’”).

         A bona fide dispute exists in this case and the Settlement Agreement is fair and reasonable.

B.       A Bona Fide Dispute is Present in This Case.

         Plaintiff asserts that she and the Collective Members were denied overtime wages required

under the FLSA. Convergent disputes this claim in their Answer and asserts Plaintiff and the

Collective Members have always been properly paid for all hours worked at the rates required under

the FLSA. Plaintiff contends that they spent minutes per day logging into software systems required

to perform their jobs, and that Defendant did not compensate them for this time. Convergent

maintains that it properly instructed all employees, including Plaintiff and the Collective Members, to

accurately record all time worked, and that Convergent compensated employees for all time worked,

including time spent logging into software systems. Consequently, there is a bona fide dispute between




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the Parties as to the number of hours worked or compensation due. See Rodriguez v. Stage 3 Separation,

LLC, No. 5:14-CV-00603-RP, 2015 WL 12866212, at *2 (W.D. Tex. Dec. 23, 2015).

C.       The Settlement Agreement is Fair and Reasonable.

         A court presiding over an FLSA action may approve a proposed settlement of the action under

Section 216(b) after scrutinizing the settlement for fairness. See Dyson v. Stuart Petro. Testers, Inc., No.

1:15-cv-282, 2016 WL 815355, at *2 (W.D. Tex. Feb. 29, 2016) (“[T]he Court primarily focuses on

ensuring that an employer does not take advantage of its employees in settling their claim for wages.”).

Although the class action provision of Federal Rule of Civil Procedure 23 does not apply to collective

actions brought pursuant to the FLSA, Rule 23 is similar in that it requires court approval to finalize

a class action settlement. See id. Therefore, the Rule 23(e) fair and reasonable settlement standard

encompasses a fair and reasonable standard under the FLSA. Id.

         In the Fifth Circuit, district courts are instructed to consider six factors when evaluating he

proposed settlement agreement for class actions:

             (1) Whether the settlement was a product of fraud or collusion; (2) the complexity,
             expense, and likely duration of the litigation; (3) the state of the proceedings and
             the amount of discovery completed; (4) the factual and legal obstacles [to]
             prevailing on the merits; (5) the possible range of recovery and the certainty of
             damages; and (6) the respective opinions of the participants, including class
             counsel, class representative, and the absent class members.

Id. (quoting Parker v. Anderson, 667 F.2d 1204, 1209 (5th Cir. 1982)). “Significant weight is given to the

opinion of class counsel concerning whether the settlement is in the best interests of the class and the

court is not to substitute its own judgement for that of counsel.” Marcus v. J.C. Penny Co., Inc., No.

6:13-cv-736, 2017 WL 6590976, at *3 (E.D. Tex. Dec. 18, 2017) (citing Cotton v. Hinton, 559 F.2d 1326,

1330 (5th Cir. 1977)).

         Here, the six-factor standard supports approval of the settlement agreement. Plaintiff’s

Counsel has extensive experience litigating FLSA claims and there is no fraud or collusion. Wage and

hour cases are expensive and time-consuming, and therefore the expense and likely duration of

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continued litigation favor approval. The Parties engaged in legal research, document review, and data

analysis and performed due diligence before beginning to negotiate a settlement in good faith. The

issues pertinent to Plaintiff’s claims and Convergent’s defenses were well understood, and the Parties

recognized that the outcome of litigating the case would be uncertain while the risks of continued

litigation would be high. Finally, counsel on both sides support the settlement.

                  1.       The Absence of Fraud or Collusion in the Settlement Favors Approval

         An initial presumption exists that a settlement is fair where counsel for the parties negotiate

the settlement at arm’s length. Murillo v. Texas A&M Univ. Sys., 921 F. Supp. 443, 445 (S.D. Tex. 1996).

Settlement of this litigation was achieved through multiple offers and counter offers before the Parties

agreed on the settlement terms. The Parties took appropriate steps in negotiating the comprehensive

Settlement Agreement, which includes payment to Plaintiff and the participating Collective Members

and payment for Plaintiff’s attorneys’ fees and expenses. As such, there is no indicia of fraud or

collusion.

                  2.       The Complexity, Expense, and Likely Duration of this Case, Were it Not to Settle, Favors
                           Settlement

         The complexity, expense, and duration of this case (were it not to settle at this time) are

significant factors that all favor settlement. If the Parties had not been able to resolve the claims at

issue through compromise, this litigation would continue because the Parties continue to disagree

regarding the merits of Plaintiff’s claims and the amount of damages. The Parties would have engaged

in significant substantive discovery and issue of certification would be briefed. The Parties would have

likewise filed competing dispositive motions on the claims and defenses at issue in this litigation.

Indeed, absent settlement, the Parties will litigate this matter through trial and appeal. Thus, the Parties

will incur substantial additional legal fees and expenses if this case is not settled. Given the

complexities of the claims at issue and the expense and extended duration of continuing litigation,

settlement is in the interests of Plaintiff, Defendant, and judicial economy.

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                  3.       The Discovery Taken by the Parties Favors Approval of the Settlement

         The Parties engaged in an informal document production wherein Convergent provided

relevant pay information to Plaintiff’s counsel for the purpose of settlement negotiations. The Parties

undertook independent factual investigation of Plaintiff’s claims and analyzed the legal issues at hand.

The relevant documents favor approval of the settlement because they highlight the complex issues

related to Plaintiff’s disputed claims regarding payment (and alleged non-payment) of overtime

compensation.

                  4.       The Uncertainty of this Litigation Favors Settlement

         Plaintiff and Convergent are well aware of the uncertainty associated with litigation. While

Plaintiff is confident in her claims, she also understands that the claims in this case may prove to be

unsuccessful, and that collection of any future judgment or award may itself prove problematic.

Accordingly, Plaintiff strongly prefers the certainty of the proposed settlement, payable shortly after

Court approval according to the settlement documents, to the risks and costs associated with

continued litigation. Likewise, Convergent understands the risk of litigating the claims at issue and,

although it is confident in its defenses, prefers the certainty of the proposed settlement to the risks

and costs associated with continued litigation.

                  5.       The Available Range of Recovery and the Uncertainty of Damages Favor Settlement

         Plaintiff’s Counsel and Convergent’s Counsel both created detailed (and multiple) damage

models that they used to meaningfully participate in the negotiation process. The Parties not only

disputed whether the time at issue was compensable (i.e., liability), but also how much time was spent

on the various tasks in question and thus how much in allegedly unpaid wages was at stake. To assess

the range of recovery possible, it is necessary to make assumptions about the amount of time spent

each week on the tasks that were allegedly performed off-the-clock. The ultimate settlement formula

does provide each member of the settlement collective with a payment based on the number of


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pertinent weeks worked. Counsel for Plaintiff prepared different models, and they submit that the

settlement provides a meaningful percentage of the unpaid wages that could have been claimed,

subject to appropriate discounts for the potential loss.3

         The risk that Convergent would prevail on its defenses also favors settlement. Convergent’s

affirmative defenses, that the claimed time is not compensable under the Portal to Portal Act, that

Convergent has paid customer service agents and employees in similar positions for time spent

booting up computers and other systems issues and for short breaks of less than twenty minutes, and

that the unpaid time, if any, is de minimis, are substantial defenses that, if successful, would result in

zero damages being owed to the Plaintiff and the Collective Members. Additionally, if as Convergent

claims, that the time spent by Plaintiff and the Collective Members preparing their computer systems

and for short breaks of under twenty minutes was (and is) actually paid, they would not be entitled to

any damages.

         Settlement is equally in Convergent’s best interest because the costs of proceeding through

trial on the merits are excessive considering the amount of collective damages at issue. Further, should

Plaintiff prevail on her claims, Convergent would be liable not only for their own costs through trial,

but also for the fees and costs of Plaintiff’s Counsel. Accordingly, the Parties agree that the settlement

is in their best interest.

                  6.         The Opinions of All Parties and Counsel Favor Settlement

         The lawyers of Anderson Alexander, PLLC have collectively litigated hundreds of individual,

collective, and class action wage and hour cases of all types and have recovered millions of dollars in

these cases on behalf of workers across the United States. See Declaration of Clif Alexander, attached

as Exhibit 1, ¶ 5. Based on this experience, Plaintiff’s Counsel can confidently report to the Court that


         3Although Plaintiff pled that Defendant’s FLSA violations were willful, Plaintiff recognizes that the
nature of the claims, in conjunction with the sophistication of the Defendant, would render a willful finding
highly improbable as Plaintiff would have the burden of proof on that issue.

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this prong is met. After intense settlement negotiations, an arms-length settlement was reached that,

in the view of Plaintiff’s Counsel, affords Plaintiff and the Collective Members with significant and

meaningful financial benefits and provides a certainty for payment.

         Further, Convergent, upon the advice of its counsel, agrees that this settlement is in its best

interest and seeks approval of the Settlement Agreement.

                                        III.
                     THIS COURT SHOULD APPROVE THE REQUESTED
                     ATTORNEYS’ FEES AND ENHANCEMENT AWARD

A.       The Requested Attorneys’ Fees and Costs Are Fair and Reasonable.

         The attorneys’ fees and costs are reasonable and fair as well. Plaintiff’s contingency fee

arrangement, to which Plaintiffs are bound, provides for the payment of a 40% contingency fee

inclusive of costs.4 See Exhibit 1, ¶ 13. A contingency payment in this general range is well within the

scope of what courts, including this Court, have approved as reasonable. See, e.g., Sarabia v. Spitzer

Indus., Inc., No. 4:17-CV-2092, 2018 WL 6046327, at *4 (S.D. Tex. Nov. 19, 2018) (recognizing that a

40% contingency fee in an FLSA case was “in line with that approved in other FLSA cases”) (citing

Matthews v. Priority Energy Servs., LLC, No. 6:15-cv-448, 2018 WL 1939327, at *2 (E.D. Tex. Apr. 20,

2018); Daniels v. Prod. Mgmt. Indus., LLC, No. 6:15-cv-2567, 2018 WL 1954352, at *4 (W.D. La. Apr.

20, 2018); Legros v. Mud Control Equip. Co., No. 15-1082, 2017 WL 925730, at *3 (W.D. La. Mar. 6,

2017); Heffernan Bryant v. United Furniture Indus., Inc., No. 1:13-cv-246-SA-DAS, 2017 WL 639320, at *5

(N.D. Miss. Feb. 16, 2017)); Wolfe v. Anchor Drilling Fluids USA Inc., No. 4:15-CV-1344, 2015 WL

12778393, at *3 (S.D. Tex. Dec. 7, 2015) (approving a 40% contingency fee as reasonable); Quintanilla

v. A & R Demolition Inc., No. CIV.A. H-04-1965, 2008 WL 9410399, at *10 (S.D. Tex. May 7, 2008)

(granting joint motion for approval of settlement and approving 40% contingency fee in an FLSA


         4Although the attorney-client contract between Plaintiff and Plaintiff’s Counsel provides for recovery
of a 40% contingency fee in addition to costs, Plaintiff’s Counsel is seeking only a 40% contingency fee,
inclusive of fees and costs.

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collective action); Sandras v. Expeditors & Prod. Serv. Co., No. CV 16-0239, 2019 WL 658819, at *3

(W.D. La. Feb. 13, 2019), report and recommendation adopted, No. CV 16-0239, 2019 WL 1446481 (W.D.

La. Mar. 29, 2019) (same); Cormier v. Turnkey Cleaning Servs. LLC, No. 6:15-CV-2076, 2018 WL

5288824, at *4 (W.D. La. Oct. 22, 2018), report and recommendation adopted, No. 6:15-CV-02076, 2018

WL 5623596 (W.D. La. Oct. 30, 2018) (same); Barnard v. Intertek USA Inc., No. 4:11-cv-02198, ECF

No. 184 (S.D. Tex. Jan. 8, 2014) (order granting joint motion for approval of settlement and approving

40% contingency fee in an FLSA collective action).

B.       The Enhancement Award is Reasonable.

         The Settlement Agreement is also fair because it provides for a reasonable incentive award to

Named Plaintiff Quneshia Rawls, who participated in filing the Original Collective Action. The

Settlement Agreement calls for a modest incentive award of $2,500.00, which is consistent with sums

typically awarded in collective action settlements. See, e.g., De Hoyos v. Allstate Corp., 240 F.R.D. 269

(W.D. Tex. 2007) (approving award of $5,000 to named plaintiffs in Rule 23(b)(2) class action suit);

Camp v. Progressive Corp., No. Civ. A. 01–2680, 2004 WL 2149079 (E.D. La. Sept.23, 2004) (approving

award of $10,000 to named plaintiff and awards of $1,000 to $2,500 to other FLSA collective action

members who assisted in litigation out of $5.4 million settlement fund); Purdie v. Ace Cash Express, Inc.,

No. Civ. A. 301CV1754L, 2003 WL 22976611 (N.D. Tex. 2003) (approving award of $16,665 in

incentive payments to the named plaintiffs out of $11 million settlement fund); Henderson v. Eaton, No.

Civ. A. 01–0138, 2002 WL 3145728 (E.D. La. Oct. 25, 2002) (approving award of $3,000 to named

plaintiff who participated extensively in litigation); In re Lease Oil Antitrust Litigation (No. II), 186 F.R.D.

403 (S.D. Tex. 1999) (approving awards of up to $10,000 per class representative out of $164.2 million

settlement fund). Indeed, the purpose of incentive awards is to compensate plaintiffs for specific

expenses and sacrifices. Silva v. Tegrity Pers. Servs., Inc., 986 F. Supp. 2d 826, 838 (S.D. Tex. 2013).




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         Plaintiff Rawls has been part of this lawsuit since the filing of the Complaint and was

instrumental in identifying the alleged wage violations and building the case. She spent substantial time

communicating with Plaintiff’s Counsel regarding case developments and assisted counsel in

understanding Convergent’s business. Plaintiff Rawls also worked closely with Plaintiff’s Counsel in

managing the settlement process and in reviewing and approving the Settlement Agreement. Without

the Plaintiff Rawls’s participation in this case, the collective action and resulting settlement would have

been far less likely. The total settlement fund here easily demonstrates the substantial benefits Plaintiff

Rawls has brought to the collective action members as a whole and justifies her incentive award.

                                                     IV.
                                                 CONCLUSION

         For these reasons, Plaintiff respectfully requests that the Settlement Agreement attached

hereto be approved and that the Court enter the Proposed Order granting this Unopposed Motion to

Dismiss with Prejudice and for Approval of FLSA Settlement Agreement.




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Date: December 15, 2021                                Respectfully submitted,

                                                       ANDERSON ALEXANDER, PLLC

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                                       CERTIFICATE OF SERVICE

         I hereby certify that on December 15, 2021, I electronically filed the foregoing document with

the clerk of the court for the U.S. District Court, Southern District of Texas, using the electronic case

filing system of the court. The electronic case filing system sent a “Notice of Electronic Filing” to the

attorneys of record who have consented in writing to accept this Notice as service of this document

by electronic means.

                                                                /s/ Clif Alexander
                                                                Clif Alexander




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